Case 3:21-cr-00126-KAC-DCP Document 108 Filed 04/26/22 Page 1 of 8 PageID #: 331
Case 3:21-cr-00126-KAC-DCP Document 108 Filed 04/26/22 Page 2 of 8 PageID #: 332
Case 3:21-cr-00126-KAC-DCP Document 108 Filed 04/26/22 Page 3 of 8 PageID #: 333
Case 3:21-cr-00126-KAC-DCP Document 108 Filed 04/26/22 Page 4 of 8 PageID #: 334
Case 3:21-cr-00126-KAC-DCP Document 108 Filed 04/26/22 Page 5 of 8 PageID #: 335
Case 3:21-cr-00126-KAC-DCP Document 108 Filed 04/26/22 Page 6 of 8 PageID #: 336
Case 3:21-cr-00126-KAC-DCP Document 108 Filed 04/26/22 Page 7 of 8 PageID #: 337
Case 3:21-cr-00126-KAC-DCP Document 108 Filed 04/26/22 Page 8 of 8 PageID #: 338
